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UNITED STATES DISTRICT COURT FOR,
THE MIDDLE DISTRICT OF FLORIDA. M114 Py ig

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Jide He aeRIC oe preven
STEVEN MCBRIDE. ,

Nu CASE #3:1A-W-A-T- Zayy
WALMART INC. , STORE MANAGER - JOHN,
ASSISTANT STORE MANAGER - IVI

FEDERAL ACTION COMPLAINT |

 

 

 

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SIBEN MGR (VE.
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CLAIMS

EEOC VIOLATION ;
STATE LAW ACTION FOR NEGLIGENCE,

HARASSMENT, RETALIATION ,DISCRIMINATION
DEMAND FOR JURY TRIAL

|, STEVEN MCBRIDE , DEMAND A TRIAL BY JURY
~ ON ALL ISSUES OF FACT AND LAW.

DAMAGES
EEOC...........:: cece ee 200,000.
STATE LAW ACTIONS .. $100,000.

 
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FACTS

1. |ADOPT AND INCORPORATE BY REFERENCE , ALL STATEMENTS MADE IN MY
OFFICIAL COMPLAINT , ATTACHED AS EXHIBIT # A.

2. AFTER THE FILING OF MY CONFIDENTIAL COMPLAINT, ALL OF THE FOLLOWING
OCCURRED.

3. AT APPROXIMATELY 1:15PM , MAY 6TH 2019, | PERSONALLY GAVE.STORE
MANAGER JOHN (WHITE MALE) A COPY OF MY OFFICIAL COMPLAINT. ASSISTANT
MANAGER IVI (WHITE MALE}, AND CAP-2 SUPERVISOR MICHAEL (MIXED RACE
BLACK MALE) WAS PRESENT.

4. ATAPPROXIMATELY , 1:35PM , AS | WAS BRINGING 2 TOP CARTS TO THE
GENERAL MERCHANDISE RECEIVING AREA , PRESENT IN THE GM RECEIVING AREA
WAS CAP-2 SUPERVISORS MICHAEL AND JOSE .

5. JOSE (WHITE MALE) APPROACHED ME IN AN AGGRESSIVE MANNER, , WITH HIS
HANDS IN HIS POCKET, AND IN AN ANGRY VOICE , SAID, “ WHAT DID AUSTIN SAY
TO YOU “.

6. IN FEAR FOR MY LIFE, KNOWING THAT JOSE , AT ALL TIMES , CARRY ITH HIMA
4 INCH POCKET KNIFE , WHICH HE HAS IN THE PAST, PULLED OUT TO S OW
EVERYONE IN CAP-2, WHAT HE USE/AND HOW HE USE HIS KNIFE TO UT FISH
AND SNAKES . "

7. BRINGING WEAPONS TO WORK, IS AGAINST WALMART COMPANY POLICY.

8. ALLWALMART MANAGERS AND ASSOCIATES , KNOW ABOUT JOSE c RRYING A
CONCEALED WEAPON.

9. | LEFT THE AREA, IN-FEAR, AND DID NOT RETURN UNTIL SEVERAL OTHER CAP-2
ASSOCIATES HAD ARRIVED. WALMART SECURITY CAMERAS WILL ven THIS
INCIDENT.

10.DAYS LATER, ON MAY 11TH 20139, | LEARNED FROM CAP-2 associa
BREEANNA , THAT CAP-2 SUPERVISOR MICHAEL , HAD TOLD HER AND OTHERS
ABOUT MY COMPLAINT, THE DAY AFTER | FILED MY CONFIDENTIAL COMPLAINT.
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11. LATER THAT EVENING , AT APPROXIMATELY , 8PM, JOSE APPROACHED
TOLD ME TO GO TO GM RECEIVING TO PULL OUT ALL THE PALETS .

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ME AND

12. AGAIN , | WAS IN FEAR OF MY LIFE, AND REFUSED TO GO TO THE BACK ROOM ,

UNTIL ANOTHER ASSOCIATE WAS IN THE BACK ROOM .
13.TUESDAY, MAY 7TH 2019, WAS MY REGULAR SCHEDULED DAY OFF.

14.WEDNESDAY, MAY 8TH 2019, AS | CLOCKED IN TO WORK, | PROCEEDED

TO THE

GEN MERCH RECEIVING AREA ( CAP-2 WORK AREA ) , | WAS MET BY ASSIT.

MANAGER IVI (WHITE MALE) , WHO TOLD ME THAT “ YOU WILL BE WO
THE HEALTH AN BEAUTY AID DEPARTMENT , TODAY “.

RKING IN

15. ON MY LUNCH BREAK, | WAS TOLD BY ASSOCIATE BIG MIKE (WHITE MALE) , THAT

HE WAS APPOINTED THE ACTING CAP-2 SUPERVISOR .

146. DAYS LATER, ON MAY 11TH 2019, | WAS TOLD BY ACTING CAP-2 SUPERVISOR

BIG MIKE, THAT, “BOTH OF THEM WANT ME (HIM) AS THE

CAP-2

SUPERVISOR, BUT, I{ HE ) HAVE TO RESOLVE AN , ALLEGATION OF

 

SOLICITATION , THAT WAS MADE AGAINST ME (HIM) “

17. THURSDAY, MAY 9TH 2019, AS | CLOCKED IN TO WORK, | WAS STOPPED TO
ATTEND A SAFETY MEETING ; AFTER THE SAFETY MEETING | WENT TO REPORT TO
CAP-2 SUPERVISOR MICHAEL, AGAIN , | WAS TOLD THAT | WOULD BE WORKING.

IN THE HEALTH AN BEAUTY AID DEPARTMENT .

18. DURING MY LUNCH BREAK , | WAS TOLD BY ASSOCIATE AUSTIN (WHITE MALE) ,
THAT , “ | SHOULD NOT BE TALKING TO YOU , | WAS TOLD BY MANAGEMENT

THAT | WOULD BE FIRED “.

19. FRIDAY, MAY 10TH 2019 , WAS MY REGULAR SCHEDULED DAY OFF . . |

 
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20. MANAGERS JOHN AND IVI ACTIONS , UNDER THE DIRECTION OF WALMART,OF
PLACING A GAG ORDER ON CAP-2 ASSOCIATES NOT TO COMMUNICATE WITH ME
, HAS CREATED A NEW AND TOREMENTING HOSTILE WORK ENVIRONMENT .

21.MANAGERS JOHN AND IVI ACTIONS, UNDER THE DIRECTION OF WALMART, OF
ASSIGNING ME TO THE HEALTH AND BEAUTY AID DEPARTMENT , IS CLEAR
RETALIATION FOR ME FILING-AN OFFICIAL COMPLAINT . .

22. MANAGERS JOHN AND IVI ACTIONS , UNDER THE DIRECTION OF WALMART, OF
PASSING ME OVER FOR THE PROMOTION OF OR , NOT ALLOWING ME TO BE THE
ACTING CAP-2 SUPERVISOR , IS CLEAR-RETALIATION FOR ME FILING AND OFFICIAL
COMPLAINT . | |

23. MANAGERS JOHN AND IVI ACTIONS , UNDER THE DIRECTION OF WALMART, OF
PASSING ME OVER FOR THE PROMOTION OF OR, NOT ALLOWING ME TO BE THE
ACTING CAP-2 SUPERVISOR , WAS DUE TO MY RACE AS AN AFRICAN AMERICAN .

24. MANAGERS JOHN AND IVI ACTIONS , UNDER THE DIRECTION OF WALMART, OF
PASSING ME OVER FOR THE PROMOTION OF CAP-2 SUPERVISOR , WAS|A CLEAR
VIOLATION OF COMPANY POLICY.

25. AT NO TIME WAS A NOTICE AND AN OPPORTUNITY TO APPLY FOR THE POSITION,
OF CAP-2 SUPERVISOR , HAS BEEN POSTED ON THE BULLETIN BOARD/TIME
CLOCK.

26. THREE WEEKS AGO, ACTING CAP-2 SUPERVISOR, BIG MIKE , JUST OBTAINED HIS
G.E.D.

27. SINCE 1981, | HAVE 2 YEARS OF COLLEGE , BUSINESS MANAGEMENT .
28. SIX WEEKS AGO, BIG MIKE WAS HIRED AS A CAP-2 ASSOCIATE .

29. FIVE MONTHS AGO, | WAS HIRED AS A CAP-2 ASSOCIATE .

30. BIG MIKE , THE ACTING CAP-2 SUPERVISOR IS 30 YEARS OLD .

 
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31. PRESENTLY, | AM 59 YEARS OLD .

32. MANAGERS JOHN AND IVI ACTIONS , UNDER THE DIRECTION OF WALMART, BY
THE PROMOTION OF (WHITE) BIG MIKE TO ACTING CAP-2 SUPERVISOR, IS A
CLEAR CASE OF AGE DISCRIMINATION . . .

33. STORE MANAGER JOHN , TOLD ME LAST MONTH, THAT BIG MIKE , USE TO WORK
FOR HIM AT ANOTHER WALMART LOCATION ( A FEW YEARS AGO ), AN 2 DAYS
BEFORE HE WAS GOING TO PROMOTE BIG MIKE, BIG MIKE QUIT WALMART TO
GO WORK FOR PUBLIX

 

34.CAP-2 HAS ABOUT 12(TWELVE) ASSIGNED ASSOCIATES ; BIG MIKE IS THE ONLY
WHITE ASSOCIATE ASSIGNED TO CAP-2 , SINCE AUSTIN WAS TRANSFERRED TO
THE DAIRY DEPARTMENT .

35. BIG MIKE , AT THE TIME OF THE INCIDENT AND HIS PROMOTION , WAS THE
NEWEST CAP-2 ASSOCIATE. 32) MANAGERS JOHN AND
IVI ACTIONS , UNDER THE DIRECTION OF WALMART, OF PROMOTING BIG MIKE
TO ACTING CAP-2 SUPERVISOR, WITHOUT A NOTICE AND AN OPPORTUNITY FOR
OTHERS TO APPLY FOR THE POSITION , HAS CREATED A HOSTILE WORK
ENVIRONMENT.

36. MANAGERS JOHN AND IVI ACTIONS , UNDER THE DIRECTION OF WALMART, BY
THE PROMOTION OF (WHITE) BIG MIKE TO ACTING CAP-2 SUPERVISOR, WHERE
EIGHT OF THE TWELVE ASSOCIATES ARE AFRICAN AMERICANS , AND THREE ARE
LATINO / ASIAN , IS CLEARLY A RACE BASE DECISION .

 
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37. IT IS WELL KNOWN THAT FOUR AFRICAN AMERICAN CAP-2 ASSOCIATES, HAVE
SHOWN INTEREST IN THE CAP-2 SUPERVISOR POSITION ; SHENNEICE, BREEANNA,

NIKO, AND STEVEN.

 

 
